           Case 1:18-vv-00089-UNJ Document 43 Filed 12/20/19 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0089V
                                    Filed: October 18, 2019
                                        UNPUBLISHED


    MEHMET OZGUR,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Corcoran, Chief Special Master:

      On January 18, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury as a result of his
October 29, 2016 Diphtheria acellular Pertussis (Tdap) Vaccine. Petition at 1. On
September 24, 2019, a decision was issued by then Chief Special Master Nora Beth
Dorsey, awarding compensation to petitioner based on the parties’ stipulation. ECF No.
34.

     On September 27, 2019, petitioner filed a motion for attorneys’ fees and costs.
ECF No. 33. Petitioner requests attorneys’ fees in the amount of $10,949.00 and

1 It is my intent to post this decision on the United States Court of Federal Claims' website. This means
the decision will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I find that the
identified material fits within this definition, I will redact such material from public access. Because this
unpublished decision contains a reasoned explanation for the action in this case, I am required to post it
on the United States Court of Federal Claims' website in accordance with the E-Government Act of 2002.
44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:18-vv-00089-UNJ Document 43 Filed 12/20/19 Page 2 of 2



attorneys’ costs in the amount of $662.01. Id. at 2. In accordance with General Order
#9, petitioner's counsel represents that petitioner incurred no out-of-pocket expenses.
Id. at 2. Thus, the total amount requested is $11,611.01.

        On October 10, 2019, respondent filed a response to petitioner’s motion. ECF
No. 36. Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
requires respondent to file a response to a request by a petitioner for an award of
attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this case.”
Id. at 2. Respondent “respectfully requests that the Court exercise its discretion and
determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

      On October 10, 2019, counsel for petitioner notified the paralegal for the Chief
Special Master that petitioner did not intend to file a reply. Counsel for respondent was
copied on all correspondence.

       I have reviewed the billing records submitted with petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the
requested hours or rates.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Based on the reasonableness of petitioner’s request, I hereby GRANT
petitioner’s motion for attorneys’ fees and costs.

      Accordingly, petitioner is awarded the total amount of $11,611.013 as a
lump sum in the form of a check jointly payable to petitioner and petitioner’s
counsel Maximillian J. Muller.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Brian H. Corcoran
                                                           Brian H. Corcoran
                                                           Chief Special Master



3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      2
